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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION


HARVEST MOON DISTRIBUTORS,
LLC,

                    Plaintiff,

v.                                                     Case No: 6:20-cv-1026-Orl-40DCI

SOUTHERN-OWNERS INSURANCE
COMPANY,

                    Defendant.
                                         /

                                         ORDER

      This cause comes before the Court on Plaintiff’s Motion for Remand (Doc. 14 (the

“Motion”)), filed June 30, 2020. On July 14, 2020, Defendant responded in opposition.

(Doc. 18). Upon consideration, the Motion is due to be denied.

I.    BACKGROUND

      Plaintiff Harvest Moon Distributors, LLC (“Harvest Moon”), initiated this lawsuit in

state court by filing a two-count complaint on June 11, 2020, asserting claims for breach

of contract and declaratory judgment. (Doc. 1-2). Plaintiff alleges that Defendant

Southern-Owners Insurance Company (“SOIC”) failed to pay insurance proceeds that

were due to Plaintiff under a policy of insurance (the “Policy”) issued by Defendant to

Plaintiff. (Id. ¶¶ 7–15). The Policy covered loss of Business Income, Extra Expense,

Inventory, and Accounts Receivable. (Id. ¶ 14). Due to COVID-19 and the resulting

closure of Walt Disney Parks & Resorts (“Disney”), Plaintiff was unable to fulfill its

contract with Disney, and thus suffered a loss allegedly covered by the Policy. (Id. ¶¶ 39–
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40). Plaintiff seeks a judgment for compensatory damages, consequential damages,

interest, costs, and attorney’s fees. (Id. at p. 8).

         On June 11, 2020, Defendant removed the case to this Court, claiming complete

diversity exists between the parties and that the amount in controversy exceeds $75,000

as required under 28 U.S.C. § 1332. (Doc. 1). Plaintiff then filed the Motion asking the

Court to remand the case back to state court, arguing that the amount-in-controversy

requirement is not satisfied. (Doc. 14). Subsequently, Defendant responded in opposition.

(Doc. 18).

II.      STANDARD OF REVIEW

         Title 28 U.S.C. § 1441(a) authorizes a defendant to remove a civil action from state

court to federal court where the controversy lies within the federal court’s original

jurisdiction. 1 When a case is removed from state court, the removing party bears the

burden of establishing federal subject matter jurisdiction by a preponderance of the

evidence. McCormick v. Aderholt, 293 F.3d 1254, 1257 (11th Cir. 2002) (per curiam).

Subject matter jurisdiction must be assessed at the time of removal. Sierminski v.

Transouth Fin. Corp., 216 F.3d 945, 949 (11th Cir. 2000). Because removal from a state

court constitutes an infringement upon state sovereignty, the removal requirements must

be strictly construed and “all doubts about jurisdiction should be resolved in favor of

remand to state court.” Univ. of S. Ala. v. Am. Tobacco Co., 168 F.3d 405, 411 (11th Cir.

1999). That said, “a removing defendant is not required to prove the amount in

controversy beyond all doubt or to banish all uncertainty about it.” Pretka v. Kolter City

Plaza II, Inc., 608 F.3d 744, 754 (11th Cir. 2010).



1     The parties agree that complete diversity exists among them.



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       To determine the amount in controversy, the court must review the removal

documents. Lowery v. Ala. Power Co., 483 F.3d 1184, 1211 (11th Cir. 2007). If a plaintiff

fails to allege a specific damage amount, the removing party bears the burden of proving

by a preponderance of the evidence that the amount-in-controversy threshold is met. Id.

at 1208–09. Beyond the face of the complaint, a district court may consider the

defendant’s notice of removal and evidence submitted by the parties. See Williams v.

Best Buy Co., 269 F.3d 1316, 1319 (11th Cir. 2001). “If the jurisdictional amount is either

stated clearly on the face of the documents before the court, or readily deducible from

them, then the court has jurisdiction.” Lowery, 483 F.3d at 1211.

III.   DISCUSSION

       Upon review of the removal documents, the Court’s experience and common

sense lead it to agree with Defendant that the amount in controversy likely exceeds

$75,000. See Roe v. Michelin N. Am., Inc., 613 F. 3d 1058, 1061–62 (11th Cir. 2010)

(recognizing that federal courts may use their judicial experience and common sense in

determining the amount in controversy).

       A.      Damages and Attorney’s Fees

       Plaintiff demands judgment for “compensatory damages, consequential damages,

interest, costs, and attorney’s fees.” (Doc. 1-2, p. 8). In the Complaint, Plaintiff alleges

that the breach of contract action resulted in damages greater than $30,000, exclusive of

interest, costs, and attorney’s fees. (Id. at p. 6). However, the amount in controversy must

be assessed at the time of removal, not at the time of filing the complaint. Sierminski, 216

F.3d at 949.




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        Plaintiff states that as of the date of the filing of the Motion on June 30, 2020, the

amount had risen to $60,362.85. (Doc. 14, p. 8). Thus, as calculated by Defendant, the

amount at the time of removal was over $51,000. (Doc. 18, p. 9). Defendant calculated

this number by taking $60,362.85, which is the amount Plaintiff said damages arose to

by June 30, 2020, and subtracted $23,750.09, which is the amount Plaintiff said damages

were on April 15, 2020. (Id. at p. 9). Then, Defendant divided this number by 76, since

there were 76 days between April 15, 2020 and June 30, 2020. (Id.). This formula

indicated a $481.73 increase in damages per day. (Id.). Accordingly, the $51,000

calculation includes the $23,750.09 in damages as of April 15, 2020, plus additional cost

accruing at a rate of $481.73 per day from April 15, 2020 to the date of removal on June

11, 2020. (Id.).

        Furthermore, courts often look beyond just the amount of actual damages when

determining the amount in controversy. “[W]hen a statutory cause of action entitles a party

to recover reasonable attorney fees, the amount in controversy includes consideration of

the amount of those fees.” Cohen v. Office Depot, Inc., 204 F.3d 1069, 1079 (11th Cir.

2000). Where the plaintiff requests attorney’s fees as part of her claim, but does not

explicitly identify the value of those fees, the court may look to evidence in the record to

predict the amount of fees the plaintiff would likely recover. See Williams, 269 F.3d at

1320.

        In the Complaint, Plaintiff specifically seeks attorney fee’s under Florida Statute §

627.428, which allows the insured to recover “a reasonable sum as fees or compensation

for the insured’s or beneficiary’s attorney prosecuting the suit in which the recovery is

had.” Although the fee arrangement between Plaintiff and their attorney is unknown,




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courts have previously found that a breach of contract dispute of $49,413.72 could

reasonably result in attorney’s fees of over $28,000. Mirras v. Time Ins., 578 F. Supp. 2d

1351, 1352 (M.D. Fla. 2008). The court noted that the conclusion that attorney’s fees

could reach at least $28,000 during the litigation of the matter assumed Plaintiff's counsel

spends at least 40 hours at $350/hour in the pleading, discovery, review of documents,

and motion practice. Id. The Court reaches the same conclusion here that attorney’s fees

in this breach of contract dispute could reasonably amount to nearly $30,000 for work

done in the pleading, discovery, review of documents, and motion practice. See id.

       By taking the amount of damages at the time of removal, which the Court estimates

to be $51,000, plus attorney’s fees, which could reasonably amount to nearly $30,000,

the Court can easily conclude from its experience and common sense that the $75,000

threshold is met.

       B.     Policy Limit

       Additionally, it is reasonable for the Court to conclude that the amount in

controversy exceeds the $75,000 threshold because Count II is seeking a declaratory

judgment “regarding the existence or nonexistence of any right or duty under the

insurance policy in question.” (Doc. 1-2, p. 8). “When a plaintiff seeks injunctive or

declaratory relief, the amount in controversy is the monetary value of the object of the

litigation from the plaintiff's perspective.” Federated Mut. Ins. v. McKinnon Motors, LLC,

329 F.3d 805, 807 (11th Cir. 2003). Here, the object of the litigation in Count II is the

Policy itself, specifically relating to Business Income, Extra Expense, Inventory, and

Accounts Receivable. (Doc. 1-2, p. 8).




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       Furthermore, and more specifically than the aforementioned rule pertaining

broadly to declaratory relief, “when the validity of an insurance policy is at stake—because

either the insurance company seeks to void the contract or the plaintiff requests injunctive

relief to restore a lapsed policy—the jurisdictional amount in controversy is the face value

of the policy.” Evanston Ins. v. Sun W. Acquisition Corp., No. 8:13-CV-2893-T-33TGW,

2014 WL 988764, at *6 (M.D. Fla. Mar. 13, 2014). Here, the face value of the Policy has

a combined limit of $150,000, as Business Income and Extra Expense allow for up to

$50,000 and Accounts Receivable allows up to $100,000. (Doc. 18, p. 8). It is proper to

consider the $150,000 face value of the Policy because Plaintiff puts the validity of the

Policy in question. See Evanston, 2014 WL 988764, at *6. Plaintiff does so by requesting

the Court to determine the “applicable law, including the provisions of Florida Statutes

that apply to the policy and to the parties,” and then “[d]eclare each policy provision not

in conformity with Florida law [to] be amended to comply with Florida law.” (Doc. 1-2, ¶¶

44, 45). Thus, the face value of the Policy exceeds $75,000, and the amount-in-

controversy requirement is again satisfied on this separate basis.

IV.    CONCLUSION

       Accordingly, it is ORDERED AND ADJUDGED that Plaintiff’s Motion for Remand

(Doc. 14) is DENIED.

       DONE AND ORDERED in Orlando, Florida on August 12, 2020.




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Copies furnished to:

Counsel of Record
Unrepresented Parties




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